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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION

DONNY PHILLIPS,

      Plaintiff,

v.                                           Case No. 3:22-CV-997-BJD-LLL

RICKY DIXON in his Official Capacity as
Secretary of the Florida Department of
Corrections, CENTURION OF FLORIDA,
LLC, MHM HEALTH PROFESSIONALS,
LLC, ALEXIS FIGUEROA, M.D.,
ELIZABETH HOLMES, BRITNNEY
CANNON, CONNIE LYNN ADAMS, SGT.
SAVONIA RICHARDSON-GRAHAM, SGT.
DEBRA ALDRIDGE and OFCR TERESSA
FILLMORE HAWTHORNE

      Defendants.
                                    /

             DEFENDANT RICKY DIXON’S SUPPLEMENTAL
              ANSWER AND AFFIRMATIVE DEFENSES TO
            PLAINTIFF’S AMENDED COMPLAINT COUNT IV

      Defendant RICKY DIXON, by and through undersigned counsel and in

compliance with the Court’s Order [Doc. 80], hereby responds to Plaintiff’s

Amended Complaint [Doc. 25] Count IV, stating the following:




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           Count IV – Violation of ADA/RA (against Secretary Dixon)

        Common Allegations of Fact are admitted, denied, or without knowledge as

previously stated in Defendant Dixon’s Answer and Affirmative Defenses [Doc. 39].

        126. Denied.

        127. Admitted the cited section exists, denied as to its applicability in this

case.

        128. Without knowledge as to the precise cause of Plaintiff’s health issues;

Defendant is without knowledge and unable to state whether Plaintiff is disabled or

not due to no time frame being identified in this allegation in addition to this

requiring a medical opinion. To the extent construed as wrongdoing or a violation

by Defendant Dixon, denied.

        129. Defendant is without knowledge and unable to state whether Plaintiff

was a “qualified individual” or not due to no time frame being identified in this

allegation in addition to this requiring a medical opinion. To the extent construed as

wrongdoing or a violation by Defendant Dixon, denied.

        130. Denied.

        131. Admitted.

        132. Admitted.




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      133. Admitted Defendant Dixon has the ability to act within the course and

scope of his position; denied that there was discrimination present or that there was

a failure to adequately respond.

      134. Denied.

      135. Denied.

      136. Denied.

      137. Denied.

      138. Denied.

      139. Denied.

      140. Denied.

             a. Denied.

             b. Denied.

             c. Denied.

             d. Denied.

             e. Denied.

             f. Denied.

      141. Denied.




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                          AFFIRMATIVE DEFENSES

      Defendant Dixon incorporates the Affirmative Defenses raised in his prior

Answer and Affirmative Defenses [Doc. 39].

      Wherefore, Defendant demands judgment in his favor and against the

Plaintiff, plus costs and reasonable attorney fees, and any further relief this Court

deems proper.



                                          Respectfully submitted,

                                          /s/ Thomas Buchan
                                          Thomas Buchan, Esq.
                                          Florida Bar No. 1010923
                                          Howell, Buchan & Strong
                                          2898-6 Mahan Drive
                                          Tallahassee, Florida 32308
                                          Telephone: (850) 877-7776
                                          Email: Tom@jsh-pa.com
                                          Attorney for Defendant Dixon,
                                          Richardson-Graham, Aldridge, and
                                          Hawthorne

                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been served

on all counsel of record by CM/ECF on September 12, 2023.

                                          /s/ Thomas Buchan
                                          Thomas Buchan, Esq.




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